Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 1 of 20 PagelD: 1

   

W. Reed Gusciora CITY OF TRENTON John Morelli

Mayor DEPARTMENT OF LAW Director of Law
November 5, 2020

VIA Express Mail
Clerk of Court

United States District Court of New Jersey
Clarkson S, Fisher Building

& U.S. Courthouse

402 East State Street

Trenton, NJ 08608

RE: Jamal A. Barlow v, City of Trenton
Docket No.: MER-L-1616-20

Dear Sir or Madam:

Our office represents Defendant City of Trenton in the above captioned matter. Enclosed
please find Defendant City of Trenton’s, Notice of Removal of Civil Action.

If you have any questions or concerns, please feel free to contact me. Thank you for your
assistance in this matter.

Very truly yours,

/s/ Rashaan S. Williams

Rashaan S. Williams, Assistant City Attorney
RSW/ms
Cc: Kendall S. Murphy, Esq

 

319 East State Street »* Trenton, New Jersey 08608-1866 «* Phone: 609-989-3011
Fax: 609-989-4242
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 2 of 20 PagelD: 2

JOHN MORELLI, CITY ATTORNEY

CITY OF TRENTON

DEPARTMENT OF LAW

319 East State Street, Room 300

Trenton, New Jersey 08608

(609) 989-3011 (telephone)

(609) 989-4242 (facsimile)

By: Rashaan S. Williams, Assistant City Attorney
Attorney for Defendant(s) City of Trenton

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

Plaintiff(s) SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
Jamal A. Barlow MERCER COUNTY

DOCKET NO.: MER-L-1616-20

Defendant(s) CIVIL ACTION

Tara Dzurkoc, John Doe Officers, 1-10, City of
Trenton, U.S Marshals Task Force, John Doe, 1- | NOTICE OF REMOVAL
10, Individually Jointly and Severally OF CIVIL ACTION

 

 

 

Defendant, City of Trenton, hereby files this Notice of Removal of the above-
captioned action to the United States District Court for the District of New Jersey, from
the Superior Court of New Jersey, Law Division, Mercer County, where the action is now
pending, as provided by 28 U.S.C. §1441 and states:

1, On or about October 20, 2020, a Complaint in this matter was filed in the
Superior Court of New Jersey, Law Division, Mercer County. The matter, entitled Jamal
A. Barlow, Jr. v. City of Trenton. was assigned Docket No. MER-L-1616-20 (hereinafter

"State Court Action”).
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 3 of 20 PagelD: 3

2. A copy of the Complaint purporting to state claims for relief upon which
the action is based was first received by Defendant, City of Trenton, on October 22,
2020. This was the first notice of the action received by Defendants, City of Trenton.
This Notice of Removal is being filed within 30 days of that date, as required by 28
U.S.C. §1446(b).

3. The State Court Action is a civil action of which the district courts of the
United States have original jurisdiction pursuant to 28 U.S.C. §1331 because the case
includes claims which arise under the laws of the United States; that is, claims under 42
U.S.C. §1983. Accordingly, removal is proper pursuant to 28 U.S.C. §1441 (a), (b), and
(c).

4, This Notice of Removal is being filed in the United States District Court
for the District of New Jersey, the district court of the United States for the district and
division within which the State Court Action is pending, as required by 28 U.S.C.
§§1446(a) and 1441(a).

5. Attached hereto as Exhibit A is a copy of all process, pleadings and orders
served upon Defendant in the State Court Action, pursuant to 28 U.S.C. §1446(a).

6. Attached hereto as Exhibit B is a copy of the Notice to Clerk of Superior
Court of Filing of Notice of Removal, the original of which is being filed with the New
Jersey Superior Court Clerk, Law Division, Mercer County as required by 28 U.S.C.
§1446(d).

7. Attached hereto as Exhibit C is a copy of the Notice to Adverse Party of
Removal of Action, the original of which is being served on Plaintiff's counsel pursuant

to 28 U.S.C. §1446(a). WHEREFORE, Defendant, City of Trenton, respectfully request
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 4 of 20 PagelD: 4

that this action proceed in this Court as an action properly removed to it.

JOHN MORELLI, Esquire
319 East State Street
Trenton, NJ 08608

(609) 989-3004

 

 

nS, Williams, Assis
Attorney ID 010012004

DATED: November 5, 2020
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 5 of 20 PagelD: 5

JOHN MORELLI, CITY ATTORNEY
CITY OF TRENTON

DEPARTMENT OF LAW

319 East State Street, Room 300
Trenton, New Jersey 08608

(609) 989-3011 (telephone)

(609) 989-4242 (facsimile)

By: Rashaan S. Williams, Assistant City Attorney

Attorney for Defendant(s) City of Trenton

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

Plaintiff(s)

Jamal A. Barlow

Defendant(s)

Tara Dzurkoc, John Doe Officers, 1-10, City of
Trenton, U.S Marshals Task Force, John Doe, 1-
10, Individually Jointly and Severally

 

 

 

TO: Kendall Murphy, Esq
309 Market Street

Trenton, NJ 08611

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
MERCER COUNTY

DOCKET NO.: MER-L-1616-20
CIVIL ACTION
NOTICE TO ADVERSE PARTIES

OF FILING OF NOTICE OF
REMOVAL

PLEASE TAKE NOTICE that a Notice of Removal of the above-captioned action from

the Superior Court of New Jersey, Law Division, Mercer County, to the United States District

Court for the District of New Jersey has been filed in the United States District Court for the

District of New Jersey. A copy of the Notice of Removal is attached.
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 6 of 20 PagelD: 6

DATED: November 5, 2020

 
   

   

By:
Ras . Williams, Assistant
Attorney ID 010012004

 

ity Attorney

 
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 7 of 20 PagelD: 7

EXHIBIT A
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 8 of 20 PagelD: 8

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Oct 19 20,04:11p Kendall S. Murphy, Esq. 6099891314 p.2

*

Kendall! $. Murphy, Esquire — NJ Attomey — ID Number: 035261995
309 Market Street

Trenton, New Jersey 0811

Telephone No.: 609-394-8382

Attomey for Plaintiff

 

Jamal A. Barlow : SUPERIOR COURT OF NEW JERSEY
; LAW DIVISION — MERCER COUNTY

Plaintiff(s),

VS.
DOCKET NO.: MER-L-001616-20
Tara Dzurkoc, John Doe Officers, 1-10, :
City of Trenton, U.S. Marshals Task ; CIVIL ACTION
Force, John Doe, 1-10, Individually
Jointly and Severally
: SUMMONS
Defendant(s) :

 

FROM THE STATE OF NEW JERSEY, TO THE DEFENDANT(S) NAMED BELOW:

City of Trenton

City Hall

319 East State Street
Trenton, New Jersey 08608

The plaintiff named above has filed a lawsuit against you in the Superior Court of New Jersey.
The Complaint attached to this Summons states the basis of this lawsuit. If you dispute this
Complaint you or your attomey must file a written answer or motion and proof of service with the
deputy clerk of the Superior Court in the county listed above within 35 days from the date you
received this Summons, not counting the date you received it, A filing fee payable to the Clerk of
the Superior Court and a completed Case Information Statement (available from the deputy clerk
of the Superior Court) must accompany your answer or motion when it is filed. You must also
send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your tights: you
must file and serve a written answer or motion (with fee and completed Case Information
Statement) if you want the court to hear your defense.

If you do not file and serve a written answer or motion within 35 days, the court may enter a
judgment against you for the relief plaintiff demands, plus interest and costs of suit, If judgment
is entered against you, the Sheriff May seize your money, wages or property to pay off all or part
of the judgment.

GITY OF TRENTON
OCT 2 6 2020
CITY CLERK'S OFFICE
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 9 of 20 PagelD: 9

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Oct 19 20,04:11p Kendall S. Murphy, Esq. 6099891314 p.3

if you cannot afford an attorney, you may call the Legal Services Office in the county where you
live, telephone (609) 695-6249 for Mercer County. If you do not have an attorney and are not
eligible for free legal assistance, you may obtain a referral to an attorney by calling the Mercer

County Lawyer Referral Services at (609) 585-6200.
~Clerk, Superior Court of New Jersey
Dated: October 19, 2020

Name of Defendant(s) to be served: City of Trenton

Address for Service: City of Hall
319 East State Street
Trenton, New Jersey 08608
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 10 of 20 PagelD: 10

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Oct 19 20.04:11p Kendall S. Murphy, Esq. 6099891314 p.4

KENDALL S, MURPHY, ESQ., P.C. (035261995)

309 MARKET STREET

TRENTON, NEW JERSEY 08611

Phone: (669) 394-8382, Fax: (609) 989-1314

Email: kersmesohentnetlesm

Attorney for Plaintiff(s)

Jamal A. Barlow, : SUPERIOR COURT OF NEW JERSEY
: LAW DIVISION - MERCER COUNTY

Plaintiffis)

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Tara Dzurkoc, John Doe Officers 1-10, : .

City of Trenton, U.S. Marshals Task Docket No; MEY ~L- OO\WolLe 20
Force, John Doe 1-10 Individually, :

Jointly and Severally

Defendant(s) : COMPLAINT and JURY DEMAND

 

Plaintiff residing at 611 Bridge Street, in the City of Trenton, County of Mercer, State of
New Jersey, by way of complaint states:

1. Atall relevant times, Defendants, Tara Dzurkoc, was an Officer employed with the
City of Trenton Police Department, located at 225 North Clinton Avenue, City of
Trenton, State of New Jersey.

2. Atall relevant times, Defendants, U.S. Marshals Task Force, was employed with
the United States Government, located at 402 East State Street, City of Trenton,
State of New Jersey.

3. John Doe 1-10 is a fictitious designation for an individual or business entity, agent
Servant, Or assign thereof whose act or omission contributed to the damages
sustained by the Plaintiff as set forth more fully herein.

4, The principats, City of Trenton and U.S. Marshals Task Force is responsible for the

acts or Omissions of its agent, servant, or assign.
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 11 of 20 PagelD: 11
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Oct 19 20.04:11p Kendall S. Murphy, Esq. 6099891314 p.5

COUNT 1

5. On or about September 13, 2018, Plaintiff was at his residence located at 611
Bridge Street, City of Trenton, New Jersey.

6. At the same time and place, Defendants were present.

7. Defendants approached the Plaintiff and apprehended the Plaintiff for outstanding
municipal warrants.

8. At that point, Defendants grabbed the Plaintiff forcibly handcuffing him, and threw
Plainti€f to the ground.

9. While on the ground and in custody said Plaintiff was viciously attacked, bitten,
and savaged by a dog owned by the Defendants for which Defendants are liable
within the meaning of the statute in such case made and provided.

10. Defendants realized that they had injured his arm and nonetheless they took him to
the City of Trenton Police Station for processing prior to the hospital.

11. These acts and omissions by Defendants and/or John Doe 1-10 are ultra vired
beyond the official duties of these Defendants.

12. Defendants and/or John Doe 1-10 acted in concert and each failed to protect the
Plaintiff trom assault and injury.

13, These acts and omissions by Defendants and/or John Doe 1-10 constitute individual
criminal acts not barred by the Tort Claims Act.

14. These acts and omissions by the Defendants and/or John Doe 1-10 are civil rights
violations specifically proscribed by 42 U.S.C. § 1983 et seq.

15. As a direct and proximate result of the acts and/or omissions of the Defendants

and/or John Doe 1-10 Plaintiff suffered personal injuries which necessitated
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 12 of 20 PagelD: 12
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medical treatment and which resulted in pain and suffering, disability and loss of
the normal enjoyment of life.
16. Defendants including but not limited to Defendants and/or John Doe 1-10, assaulted
injured, searched, arrested, and detained Plaintiff.
17, Defendants and/or John Doe 1-10, used excessive force causing injury and great
distress to Plaintiff.
(8. The foregoing acts and omissions of said and/or John Does 1-10 constituted a
violation of constitutional rights under the 14 and 8™ Amendments giving rise to
a federal cause of action under 42 U.S.C. § 1983.
WHEREFORE, Plaintiff demands Judgment against the Defendants and/or John Die 1-10
individually jointly, and severally for:
a. Punitive Damages; and/or
b. Compensatory damages: and/or
c. Attorney’s fees: and
d. Interest; and

e. Cost of suit.

   

By: FP,
KENDALL S. MURPHY, ES

Attomey for P
Dated: September 10, 2020
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 13 of 20 PagelD: 13

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' Oct 19 20,04:11p Kendall S. Murphy, Esq. 6099891314 p.7

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JURY DEMAND

Pursuant to R. 1:8-1(b) and R. 4:35-1 of the New Jersey Court Rules, Plaintiff(s) hereby
demand a trial by jury for all issues so triable.

DESIGNATION OF TRIAL COUNSEL

Pursuant to R.4:5-1(c) and R. 4:25 4 of the Court Rules, Kendall S. Murphy, Esquire is
hereby designated as Trial Counsel for Plaintiff(s) in connection with this litigation.

NOTICE OF PER DIEM TIME-UNIT CLOSING ARGUMENT

PLEASE TAKE NOTICE that Plaintiff(s) will use per diem argument during closing
argument at Trial and suggest to Jury that unliquidated damages be calculated on a time-unit basis
without reference to a specific sum, pursuant to Rule 1:7-1(b). Proper explanatory instructions to
the Jury shall be requested in accordance with the Rule.

CERTIFICATION OF OTHER ACTIONS AND PARTIES

Pursuant to R. 4:5-1(b) of the New Jersey Court Rules, the undersigned hereby certifies
that the matter in controversy if not the subject of any other action pending in any court or of a
pending arbitration proceeding. No other action or arbitration proceeding is contemplated, other
than, if applicable to this case, UM/UIM arbitration. The undersigned does not know the names of
any other parties who should be joined in the action or who are subject to joinder.

DEMAND FOR ANSWERS TO FORM INTERROGATORIES

Pursuant to R. 4:17-](b)(ii) of the New Jersey Court Rules, Plaintiff(s) hereby demand
that the answering defendant answer Form C Uniform Interrogatories, and that such answers be
served upon Plaintiff's counsel, Kendall S. Murphy, Esquire, 309 Market Street, Trenton, New
Jersey 08611 in the time and manner set forth in the New Jersey Court Rules and the Discovery
Instructions and Definitions set forth below.

DEMAND FOR FURTHER DISCOVERY
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 14 of 20 PagelD: 14

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* Oct 1920, 04:11p Kendall S. Murphy, Esq. 6099891314 p.8

Pursuant to R. 4:10 of the New Jersey Court Rules, Plaintiff(s} hereby demand the

answering Defendant respond to the Interrogatories and Request for Production of Documents
that follow.

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ALL S. MURPHY, ESQU,
Attomey for Plaintiff

Dated: September 10, 2020
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 15 of 20 PagelD: 15

EXHIBIT B
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 16 of 20 PagelD: 16

JOHN MORELLI, CITY ATTORNEY
CITY OF TRENTON

DEPARTMENT OF LAW

319 East State Street, Room 300
Trenton, New Jersey 08608

(609) 989-3011 (telephone)

(609) 989-4242 (facsimile)

By: Rashaan S. Williams, Assistant City Attorney

Attorney for Defendant(s) City of Trenton

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

Plaintiff(s)

Jamal A. Barlow

Defendant(s)

Tara Dzurkoc, John Doe Officers, 1-10, City of
Trenton, U.S Marshals Task Force, John Doe, 1-
10, Individually Jointly and Severally

 

 

 

TO: Clerk, Superior Court

Law Division

Mercer County Courthouse
209 S. Broad Street

P.O. Box 8068

Trenton, New Jersey 08650

SIR OR MADAM:

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION

MERCER COUNTY

DOCKET NO.: MER-L-1616-20

CIVIL ACTION
NOTICE TO CLERK OF SUPERIOR

COURT OF FILING OF NOTICE OF
REMOVAL

PLEASE TAKE NOTICE that Defendant, City of Trenton, have filed a Notice of

Removal of the above-captioned action in the United States District Court for the District of New

Jersey. Attached hereto is a copy of the Notice of Removal of this case and the Notice to
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 17 of 20 PagelD: 17

Adverse Party of Filing of Notice of Removal.

JOHN MORELLI, Esquire
319 East State Street
Trenton, NJ 08608

(609) 989-3004

  

Ras . Williams, Asgistant City Attorney
Attorney ID 010012004

DATED: October 22, 2020
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 18 of 20 PagelD: 18

EXHIBIT C
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20

JOHN MORELLI, CITY ATTORNEY
CITY OF TRENTON

DEPARTMENT OF LAW

319 East State Street, Room 300
Trenton, New Jersey 08608

(609) 989-3011 (telephone)

(609) 989-4242 (facsimile)

Page 19 of 20 PagelD: 19

By: Rashaan S. Williams, Assistant City Attorney

Attorney for Defendant(s) City of Trenton

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

Plaintiff(s)

Jamal A. Barlow

Defendant(s)

Tara Dzurkoc, John Doe Officers, 1-10, City of
Trenton, U.S Marshals Task Force, John Doe, 1-
10, Individually Jointly and Severally

 

 

 

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
MERCER COUNTY

DOCKET NO.: MER-L-1616-20

CIVIL ACTION

CERTIFICATION OF SERVICE

I, Rashaan S. Williams, of full age do hereby certify:

1, I am an Assistant City Attorney for the Defendant City of Trenton, and as such

have the responsibility to defend the City in this matter and am fully aware of the

facts and circumstances of this matter.

2, I caused a true and correct copy of Defendants’ Notice of Removal, Notice to

Clerk of Superior Court of Filing of Notice of Removal; and Notice to Adverse

Party of Filing of Notice of Removal to be served upon Kendall Murphy, Esq,

attorney for Plaintiff, Jamal A. Barlow.
Case 2:20-cv-15594-KSH-CLW Document1 Filed 11/05/20 Page 20 of 20 PagelD: 20

I hereby certify that the foregoing statements are true. I am aware that if any of the

foregoing statements of fact is willfully. false, I am subject to punishment.

 

 

Rashaan S.

DATED: November 5, 2020
